  Case 3:18-cr-00048-VAB Document 74-6 Filed 12/21/18 Page 1 of 6




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Bcc:      rvmatt22@g rnail.co m[rvmatt22@gmail,com]
Frorn:    Jade Yu
sent      Mon 1012012014 9:22:16 AM
lmponance:             Normal
Subject Letterto   R
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Letter to R         10-20-14'docx

Good moming, Gerry.

Please find attached the updated letter


Thank you,




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                                  Gerry Matthews

                               Waterbury,   CT 06708


                                                                         October 20,2014



R



E-mail address:

       Re: Notice of Your Removal   as Manager of Palm House,      LLC

Dear Mr.          :

       You are hereby notified that you have been removed as Manager of Palm House,
LLC (the "Company") effective as of the date of this letter.


                                            Very   tuly   yours,




                                            Gerr),Matthews
 Case 3:18-cr-00048-VAB Document 74-6 Filed 12/21/18 Page 5 of 6




To: R
Bcc rvmatt22@gmail.com[rvmat22@gmail.com]
From: Jade Yu
Sent Mon 1012012014 4:32:14PM
lmportance: Nonnal
Subiect       Follow-up
Letter to R               from Gerrv Matthews.odf

As dictated from Bob Matthews:

Dear R         ,

Per our phone conversation, I look fonrard to meeting with you next week when you
return from China.


Thanks,

Bob




                                                                         I




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Case 3:18-cr-00048-VAB Document 74-6 Filed 12/21/18 Page 6 of 6




                                                                               I




                                     GerryMatthews

                                 Waterburr, CT 06708



                                                                         October 20, 2014


 R



 E-mail address:

        Re: Notice of Your Removal   as Manager of Palm House,   LLC

 Dear Mr.      :

         You are hereby notified that you have heen removed as Manager   of Palm l{ouse,
 l-LC (the "Company") effective as of the date of this letter.


                                            Very truly yours,




                                                                                            sEc*rR€{xt22620
